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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KEVIN MILLER,                              :
                          Plaintiff,       :
                                           :         CIVIL ACTION
           v.                              :         NO. 18-5178
                                           :
JOSEPH SNELL,                              :
                          Defendant.       :



                                       ORDER

             AND NOW, this 30th day of December, 2020, for the reasons set forth in the
accompanying Memorandum Opinion, it is hereby ORDERED that defendant’s Motion for
Judgment on the Pleadings is GRANTED and the case is DISMISSED.


                                           BY THE COURT:


                                           /s/ Jeffrey L. Schmehl
                                           JEFFREY L. SCHMEHL, J.
